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   13 [LIST OF ADDITIONAL COUNSEL ON SIGNATURE PAGE]

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   15                         UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
   16

   17                                              8:17-cv-00838-JLS-JDE
        In re: Hyundai and Kia Engine Litigation
   18
                                                   Related Cases:
   19                                              8:17-cv-01365-JLS-JDE
   20                                              8:17-cv-02208-JLS-JDE
                                                   2:18-cv-05255-JLS-JDE
   21                                              8:18-cv-00622-JLS-JDE
   22                                              8:18-cv-02223-JLS-JDE

   23                                              SECOND NOTICE OF ADDITIONAL
                                                   OBJECTIONS RECEIVED BY CLASS
   24                                              COUNSEL
   25

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                              SECOND NOTICE OF ADDITIONAL OBJECTIONS
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    1        Class Counsel have received the following additional objections that were
    2 mailed prior to but received after the October 30, 2020 objection deadline:

    3

    4   Name                        VIN               City, State
        Antoinette Pacheco          5NPEB4AC2BH105502 Mahopac, NY
    5
        Maria Theresa Flores        KNDPM3ACXK7493953 Hampton, VA
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                               SECOND NOTICE OF ADDITIONAL OBJECTIONS
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    1 Dated: November 8, 2020                     Respectfully submitted,
    2
                                    By:   /s/ Bonner C. Walsh
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                           SECOND NOTICE OF ADDITIONAL OBJECTIONS
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    1
                                 CERTIFICATE OF SERVICE

    2        I, Bonner C. Walsh, hereby certify that on this 8th day of November, 2020, I
    3 caused the foregoing to be filed using the Court’s CM/ECF system, and thereby

    4 electronically served it upon all registered ECF users in this case.

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    7                                         By:    /s/ Bonner C. Walsh
                                                    Bonner C. Walsh
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                              SECOND NOTICE OF ADDITIONAL OBJECTIONS
